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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


 UNITED STATES OF AMERICA,                           CR 12–36–M–DWM

                    Plaintiff,

       vs.                                                 ORDER

 CHRISTIN DIANNE DIDIER and
 SURAYYA MAHASIN NASIR,

                    Defendants.


      This criminal case was tried to a jury but it should not have been given to

them for decision. It was submitted to the jury on a theory of mail fraud as set

forth in the indictment but, upon reflection, that criminal theory cannot be

sustained when the proof of materiality is at odds with a contractual obligation to

pay what was supposedly gained by fraud. Chubb, the alleged victim of mail

fraud, was obligated to pay Didier a substantial sum of money, undefined except in

ambiguous language in the contract of insurance it wrote, because she could not

live in her lake mansion due to covered losses to that home. Chubb argued to state

and federal regulatory and investigative agencies that it had been victimized when

Didier misrepresented the nature of her temporary residence. But, because Chubb


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was obligated to pay her an amount sufficient to maintain her standard of living in

a mansion with multiple bedrooms, multiple baths, and even a ballroom whatever

she said could not have been material to Chubb. The answer to the question of

whether the element of materiality can be shown under such circumstances is that

materiality cannot be proven when the entity supposedly victimized by mail fraud

is obligated to pay what the government claims was a loss caused by fraudulent

representations of the insured.

      Every day in this country there are thousands, if not hundreds of thousands

of insurance claims made or resolved. In many of those claims the carrier pays the

policy value of the roof destroyed by wind, the collision damage from a wreck, or

the estimated value of windshield damage. Likewise, everyday insurance adjusters

engage in thousands of transactions and adjustments concerning liability

payments, home owners claims, or replacement value disputes. If the

government’s theory is correct about materiality being a separate issue from the

contractual obligation to pay, then each of these events could give rise to

indictment for mail fraud. Is it mail fraud when the owner of a damaged car gets

the requisite three estimates, obtains payment by mail from the carrier but then has

someone else do the work, pocketing the difference or savings? What if the owner

never has the damage repaired, is that fraud? Is it mail fraud when the water heater

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leaks and destroys the beautiful wooden floor in the kitchen and the adjuster issues

a check in the mail for the replacement cost and the homeowner elects to install

linoleum or chooses not to fix the wooden floor but pockets the difference in cost?

Is it mail fraud when the adjuster compromises the personal injury claim with a

third party by erroneously telling them comparative fault applies when the injured

person is an innocent passenger, using the underpayment to bolster corporate and

personal profits? Is it mail fraud when an auto carrier tells an insured in Montana

that policy limits cannot be stacked, contrary to established law? Is it mail fraud

when Chubb issues a “white glove” policy that requires it to pay to maintain a

standard of living and its adjuster unilaterally uses the wires to declare the “cost is

too much” even though the policy requires it to pay according to a subjective

standard? Materiality cannot legally exist if the purported victim is contractually

obligated to pay what it was allegedly deprived of by misrepresentation or lies.

That is why a judgment of acquittal must be entered in this case.

      Ms. Didier and Ms. Nasir were convicted of mail fraud and conspiracy to

commit mail fraud March 22, 2013, after a week-long jury trial. The Defendants’

Motions for a Judgment of Acquittal are now pending.

      For the reasons discussed below, there was not sufficient evidence to

support the Defendants’ convictions on Counts I-IX of the Indictment.

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I.    Statement of Facts

      Sometime in July of 2005, Christin Didier bought a large mansion in

Somers, Montana. The home was built in 1903 and had fourteen separate

bedrooms, multiple fireplaces, and three bathrooms, as well as what was described

as a ballroom. The property was located on nearly five acres of land and has

extraordinary views of Flathead Lake. When she bought the mansion, Ms. Didier

also purchased an expensive white glove insurance policy on the home written by

Pacific Indemnity Company, a division of Chubb Insurance. The Chubb

Masterpiece Policy she purchased included liability coverage as well as coverages

for the structure and its contents. It is described as a white glove policy marketed

specifically for high end homes and high net worth customers that Chubb intended

to give special treatment. The premium cost for the policy was nearly $1,000 per

month.

      After she had been living in the house for two years, in July of 2007, the

mansion was damaged by a tornado. Didier filed a claim with Chubb Insurance,

which Chubb began the process of adjusting so necessary repairs could be made.

That winter another untoward event took place; either due to damage to the boiler

from the earlier wind occurrence or because of a lack of fuel, Didier began using

portable diesel-fueled heaters and the mansion’s wood-burning fireplaces as a

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source of heat. A fire happened on January 11, 2008 that caused extensive damage

to the residence, rendering it uninhabitable and ultimately leading to the

indictment in this case.

      To start with Didier and Chubb agreed that losses from the wind and fire

were covered by her Masterpiece Policy. They also mutually agreed it was

necessary for her to vacate the house until repairs were completed. A major clause

of Chubb’s policy anticipated this event and it provided assurance that her

standard of living would not be altered because she had to temporarily abandon

the mansion while repairs took place. Chubb set out to find Ms. Didier alternate

housing under the policy’s additional living expenses coverage. This insurance

clause obligated Chubb in the following way:

      If your house cannot be lived in because of a covered loss to your
      house or, if applicable, to your contents, we cover the reasonable
      increase in your normal living expenses that is necessary to maintain
      your household’s usual standard of living. We cover this increase for
      the reasonable amount of time required to repair, replace or rebuild
      your house or your contents, or if you permanently relocate, the
      shortest amount of time required for your household to settle
      elsewhere. This period of time is not limited by the expiration of this
      policy.

Chubb was obligated to pay whatever it took to make sure Didier maintained her

standard of living, regardless of where she lived, even if her normal living

expenses went up. In this regard Chubb conceded that the fire was a covered event

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that would require Ms. Didier to vacate the premises for at least six months while

repairs were made. The Masterpiece Policy required undefined payment to Didier,

constrained only by her usual standard of living at the Somers mansion.

      In setting the stage to resolve the materiality issue in this case it is important

to keep in mind that if the language of a policy drafted by the insurer is

ambiguous, courts will construe the ambiguity against the insurer and in favor of

extending coverage. Giacomelli v. Scottsdale Ins. Co., 221 P.3d 666 (Mont.

2009). The purpose of this canon of construction is to give protection to the

insured because insurers draft the language of the policy. See Pablo v. Montana,

995 P.2d 460 (Mont. 2000). Likewise, if a clause of an insurance contract is

subject to more than one reasonable interpretation, if it is ambiguous, obscure, or

subject to different interpretations, the policy must be construed most favorably

for the insured particularly when there is some attempt to exclude the liability of

the carrier to make the necessary payment. See Head v. C. Reserve Life of N. Am.

Ins. Co., 845 P.2d 735,742 (Mont. 1993). Resolving an ambiguous clause to favor

Chubb in this case is inconsistent with the general rules of insurance contract

interpretation and turns payment of a contractual obligation into a sword of

conviction simply because the carrier paid what it owed, but did so based on

mistaken reasons imparted to it by its insured. The focus of the obligation to pay is

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not on where the insured chooses to live when expelled from her mansion by a

loss, rather it is what is the cost of keeping her standard of living the same, even if

it costs more than her actual expenses, based on the mansion she could no longer

inhabit.

       The nature of the Somers mansion and Ms. Didier’s use and enjoyment of it

presented a challenge to Chubb in meeting their guarantee to provide replacement

housing that would maintain her standard of living. The Somers mansion and

estate were exceptional properties in the Flathead Valley. The size of the mansion,

its historic character, and surrounding estate, as well as panoramic views of

Flathead Lake are rare, especially in a replacement rental property. The loss was

complicated by Didier’s living situation. She used the property in a way that was

specialized and somewhat incompatible with many rental arrangements. When the

fire loss happened, Didier was living at the Somers mansion with her elderly

mother who was suffering from Alzheimer’s disease. She also had several dogs on

the property, some estimates as high as twenty to thirty Pugs, as part of her

household.

      When Chubb was handed this unique high end loss it retained a temporary

housing vendor, ALE Solutions, Inc., to find suitable replacement housing. Chubb

initially authorized ALE to offer Ms. Didier and her household hotel

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accommodation as a stopgap to provide her shelter with heat during the cold

Montana winter. The idea was unworkable because Didier had concerns about her

mother and her dogs. While ALE searched for housing that would match the

standard of living in the mansion, Didier stayed at the mansion despite the fire-

damage. Ms. Didier offered to live in a mobile home or trailer, but that offer was

not acted on by ALE and Chubb due to cost.

      The search to replace the mansion proved difficult for ALE. They located a

bed and breakfast in Whitefish, Montana willing to cancel its reservations to

accommodate Ms. Didier. Chubb’s adjuster said no to this property because its

owner was not willing to sign a six month lease with option to renew. ALE later

found a fully furnished home with eight bedrooms. Chubb’s claims adjuster again

rejected the corporate property due to the $40,000 per month cost. Evidently

relying on the notion that it was obligated to replace the mansion, Chubb’s

adjuster told ALE to look for a place costing $10,000 to $15,000 per month as an

appropriate price range. In other words, Chubb acknowledged it had to pay based

on the replacement cost, not the value of where Didier, her mother and her dogs

actually lived. ALE then returned to negotiations with the bed and breakfast

owner, eventually reaching an agreement to rent the six bedroom, three and one-

half bath property for just over $10,000 per month for six months with an option to

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renew.

      ALE presented the idea of the Whitefish bed and breakfast to Ms. Didier on

January 22, 2008 and encouraged her to visit the property. She did so but after

visiting the property, Ms. Didier rejected the Whitefish bed and breakfast as

replacement housing because it was too far from her home in Somers.

      On January 28, 2008 Ms. Didier contacted ALE, informing them she had a

lead on a property in Rollins, Montana that would be a better fit for her household.

ALE responded to Ms. Didier and asked her for more information about the

property. Ms. Didier put ALE in contact with Ms. Nasir. Ms. Nasir represented

herself as broker for the Didier Family Trust and began communicating with ALE

by fax and email.

      When placing a customer in temporary housing, ALE collects information

regarding the property in a form called a “preap” and then evaluates these details

internally before presenting the proposed placement to the insurance adjuster.

Typically the preap is completed by ALE based on information provided by the

landlord or property manager over the telephone or in-person. In this case, ALE’s

representative sent the preap to Ms. Didier for completion. Ms. Didier or Ms.

Nasir completed the preap and faxed it back to ALE with the necessary

information. Notably these communications were not with Chubb.

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      The preap as completed by Ms. Didier represented that the Rollins property

was 6900 square feet, with five bedrooms and two bathrooms. This information

was false. The document detailed proposed financial terms for the temporary

housing arrangement, including a base rent of $15,250 per month, a $7,000

security deposit, a $5,000 pet deposit, a $200 application fee, a $1,500 cleaning

fee, and a 10% broker fee. Chubb did not question the coverage for any of the

claims. ALE transferred the handwritten preap as completed by Ms. Didier to an

electronic format and processed it for Chubb’s approval.

      ALE contacted Ms. Nasir for more information regarding her role in the

transaction. It confirmed her role as broker on behalf of the Didier Family Trust

and confirmed that the broker fee was a one-time fee.

      ALE also asked Didier for more information about the Rollins property.

ALE had concerns about Nasir’s statement that she represented the Didier Family

Trust. It needed confirmation that the Rollins property was not Ms. Didier’s own

property and that the property was actually held in trust by her extended family.

Didier confirmed.

      Didier, her mother, and the dogs stayed in the Somers mansion, surrounded

by smoke and fire damage and without adequate heat, until January 27, 2008.

Then she moved her household to the Rollins property. She moved her household

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to the Rollins property before the Chubb adjuster gave final approval to ALE to

enter a lease agreement to use that property as replacement housing. On January

31, 2008 there was an email exchange between the Chubb adjuster and ALE. Ms.

Didier had been very demanding about acceptable accommodation. The adjuster

expressed frustration with her demands and approved the Rollins proposal to just

“shut this lady up.” Chubb eventually approved the Rollins property as temporary

housing for Ms. Didier on the terms she proposed.

      A short time later, on February 4, 2008, ALE received a lease, a payment

letter of commitment, a temporary housing agreement, and a move-in form for the

Rollins property. The payment letter of commitment was executed between ALE

and the landlord detailing the nature of the transaction including the monthly rent.

The temporary housing agreement was also executed between ALE and the

insured detailing the nature of the transaction as temporary replacement housing in

connection with the Chubb insurance policy. The move-in form was completed by

Didier detailing the condition of the property on move-in. All of these documents

were based on information contained in the preap and flow from the Chubb

adjuster’s approval of the preap.

      With the paperwork complete, ALE started the covered payments. It sent a

$10,875 check to Ms. Nasir for the broker fee and application fee. That check was

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sent by mail or common carrier from an office in Illinois to Ms. Nasir in

California. She accepted and deposited the check.

      ALE also sent checks to the Didier Family Trust. The checks were sent from

ALE’s office in Illinois to Didier’s sister in Lewistown, Montana. The sister then

sent the checks to Ms. Didier’s Somers address. Didier deposited the checks into

an account at Glacier Bank, held in the name of C.D. Didier Family Trust, Christin

Didier. Seven checks were sent by common carriers DHL, FedEx, and the United

States Postal Service. Those checks were for monthly rent for January to June

2008, the security deposit, pet deposit, and the cleaning fee. The payments totaled

$122,791.50 for the term of the lease of the Rollins property.

      Before the wind event and fire giving rise to Ms. Didier’s insurance claims

to Chubb she filed for Chapter 11 bankruptcy. Her initial Chapter 11 petition was

filed July 2007. During those proceedings, Ms. Didier represented that the Rollins

property was owned in trust and not an asset available for liquidation under her

Chapter 11 plan.1 Two years later in July of 2009, Ms. Didier’s Chapter 11 filing

was converted to Chapter 7 by order of Judge Kirscher. Her schedule of assets was

amended after conversion to Chapter 7 and the trust designation was removed as

to the Rollins property. She objected to the sale of the Rollins property by the

      1
             Didier is not charged with bankruptcy fraud.

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bankruptcy trustee because she claimed it was owned in trust and not a personal

asset. Judge Kirscher ultimately ruled that Ms. Didier was the trustor, trustee and

sole beneficiary of the trust. See In re Didier, 2010 WL 817403 at *4 (Bankr. D.

Mont. March 5, 2010). The Rollins property was eventually sold by the

Bankruptcy Trustee.

      In February 2008, the Special Investigation Unit at Chubb Insurance took

note of Ms. Didier’s file and began work to validate her claim and evaluate her

replacement housing. It had taken none of these steps before the insurance

payments were approved. Chubb’s investigator had access to the adjuster’s claim

files and assembled other information regarding Ms. Didier’s claim from ALE.

Chubb’s investigator also hired a private investigator to visit the property and

closely monitored Ms. Didier’s ongoing bankruptcy filing.

      The Special Investigation Unit’s work discovered Didier’s control over and

benefit from the C.D. Didier Family Trust. It also revealed the Rollins property to

be a cabin of approximately 860 square feet, two bedrooms, no bathrooms, and no

indoor plumbing. Representations about other amenities and furnishings

documented on the move-in form were also revealed to be at odds with the actual

physical condition of the Rollins property. The representation that there was an in-

ground pool was false as there was only an above-ground pool on the property.

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Ms. Didier had fudged and lied about the Rollins property.

       As a result of these revelations, Chubb’s investigator conducted two

examinations under oath with Ms. Didier. In examinations under oath on June 19,

2008 and September 15, 2008, Ms. Didier explained the description of the Rollins

property on the preap as consistent with her definition of bedrooms, bathrooms,

and methods of calculating square feet. She admitted she was in control of the

C.D. Didier Family Trust and, as such, was the real owner of the Rollins property.

       In July 2008, Chubb’s investigator conducted a surprise examination under

oath with Ms. Nasir at a restaurant in San Diego, California. Ms. Nasir confirmed

her role in the transaction as broker for the C.D. Didier Family Trust. At some

point she offered to send her file to Chubb’s Investigator but never did.

       In January 2009 Chubb complained to the Insurance Division of the

Montana State Auditor’s Office which is also the state’s Commissioner of

Securities and Insurance. The State Auditor’s Office reviewed the complaint and

opened an investigation. They interviewed Ms. Didier and Ms. Nasir.2

       Ms. Didier was voluntarily interviewed by officials at the Montana State

Auditor’s Office on May 4, 2009 in Helena, Montana. She was represented by


       2
                 Had Chubb denied Didier’s claim it surely would have been subjected to a bad
faith claim under Montana law. Going to the State Auditor insulated the carrier from potential
civil liability.

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counsel and the interview was recorded. She justified her temporary housing claim

by stating the monthly rent was based on a conversation she had with a

representative at ALE, wherein ALE stated that she was due whatever it cost for

hotel fees, regardless of where she ended up. Ms. Didier says the ALE

representative likened her decision to live at the Rollins property to a decision to

replace kitchen floor linoleum with dollar store linoleum at her option, regardless

of the cost associated with maintaining her standard of living. Ms. Didier claimed

in the interview that she was completely transparent about the ownership of the

Rollins property and claimed that ALE expressed no issue with the ownership of

the Rollins property.

      Ms. Nasir also volunteered to be interviewed by telephone. An investigator

with the Montana State Auditor’s Office did so on July 21, 2009. Nasir admitted

her role as broker for the C.D. Didier Family Trust in the replacement housing

transaction for Didier. She refused to answer many questions regarding the

transaction without reviewing her file. She then agreed to retrieve her file and

contact the Auditor’s Office. She did not follow up.

      All of this gave rise to a September 2012 nine-count indictment. The

Indictment charges Ms. Didier with seven counts of mail fraud, in violation of 18

U.S.C. § 1341, and one count of conspiracy to commit mail fraud, in violation of

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18 U.S.C. § 371. It charges Ms. Nasir with one count of mail fraud, in violation of

18 U.S.C. § 1341, and one count of conspiracy to commit mail fraud, in violation

of 18 U.S.C. § 371. A jury trial was held the week of March 18, 2013. On March

22, 2013 the jury found the Defendants guilty of all counts charged in the

Indictment.

      At the close of the government’s case, Ms. Didier moved for a judgment of

acquittal, pursuant to Federal Rule of Criminal Procedure 29. Counsel to Ms.

Didier argued the government had failed to present sufficient evidence to sustain a

conviction of Ms. Didier for any crime charged in the indictment. Specifically,

counsel claimed the government did not provide sufficient evidence that Ms.

Didier had the capacity to form specific intent to defraud or enter a conspiracy

with Ms. Nasir. Furthermore, counsel claimed the government had failed to prove

Ms. Didier’s statements and representations were material to any act by Chubb

Insurance.

      Nasir also asked for a judgment of acquittal. Her lawyer argued the

government had not presented sufficient evidence on which to convict Ms. Nasir

of mail fraud or conspiracy to commit mail fraud. Specifically, he insisted there

was no evidence of unlawful agreement to which Ms. Nasir was party and that Ms.

Didier’s mental disease or defect made such an agreement impossible.

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      The Defendants’ Motions for Judgment of Acquittal were under advisement

until after the jury’s verdict pursuant to Federal Rule of Criminal Procedure 29(b).

The jury returned its verdict finding the Defendants guilty of all counts March 22,

2013. Didier timely renewed her Motion for Judgment of Acquittal on April 5,

2013. Nasir timely renewed her Motion for Judgment of Acquittal the same day

and also moved for a new trial.

II.   Standards

      On a defendant’s motion, a court may set aside a jury verdict and enter an

acquittal. Fed. R. Crim. P. 29. “The evidence is sufficient to support a conviction

if, viewing the evidence in the light most favorable to the prosecution, any rational

trier of fact could have found the essential elements of the crime beyond a

reasonable doubt.” United States v. Mincoff, 574 F.3d 1186, 1192 (9th Cir. 2009)

(citing United States v. Dearing, 504 F3d 897, 900 (9th Cir. 2007)). The court

must “respect the exclusive province of the jury to determine the credibility of

witnesses, resolve evidentiary conflicts, and draw reasonable inferences from

proven facts, by assuming that the jury resolved all such matters in a manner

which supports the verdict.” United States v. Yoshida, 303 F.3d 1145, 1149 (9th

Cir. 2002) (citing United States v. Goode, 814 F.2d 1353, 1355 (9th Cir. 1987)).

The court may not weigh conflicting evidence nor determine the credibility of

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witnesses; that is the jury’s exclusive purview. United States v. Shelton, 588 F.2d

1242 (9th Cir.1978) (citations omitted).

       “A district court’s power to grant a motion for a new trial is much broader

than its power to grant a motion for judgment of acquittal.” United States v. A.

Lanoy Alston, D.M.D., P.C., 974 F.2d 1206, 1211 (9th Cir. 1992) (citation

omitted). “Upon the defendant’s motion, the court may vacate any judgment and

grant a new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a). “[A]

court is not obliged to view the evidence in the light most favorable to the verdict,

and it is free to weigh the evidence and evaluate for itself the credibility of the

witnesses.” United States v. Kellington, 217 F.3d 1084, 1097 (9th Cir. 2000)

(citing Alston, 974 F.2d at 1211). A new trial before another jury is warranted if

the court concludes that the evidence weighs heavily against the verdict and a

serious miscarriage of justice may have occurred. Id. (citing United States v.

Lincoln, 630 F.2d 1313, 1319 (8th Cir. 1980)).

III.   Analysis

       The government brings this criminal fraud prosecution on the backdrop of

an insurance policy Ms. Didier purchased from Chubb Insurance. Under the terms

of the policy, Chubb was obligated to pay her an amount of money sufficient to

maintain her household’s usual standard of living following the losses she suffered

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in 2008. The losses caused by the wind and fire at the Somers mansion were

covered losses that triggered the standard of living clause. She was due that

payment regardless of her representations about the Rollins property. The

evidence is not sufficient to sustain the Defendants’ convictions because there is

no proof that any of Didier’s deceptions were material, causing Chubb to pay more

than was due under the policy. Beyond insufficiency of the proof, the ambiguous

language of the policy as a matter of law precludes a finding of materiality of the

Defendants’ actions. Nothing Didier or Nasir said or did relieved Chubb of its

obligation to pay the value of what she left as opposed to where she went. Absent

a showing of materiality, no rational trier of fact could find all essential elements

of the crime of mail fraud beyond a reasonable doubt. The Defendants’

convictions must be set aside.

A.  The Defendants’ statements and representations were not material to
Chubb Insurance’s acts under the policy.

      The federal mail fraud statute prohibits the use of the mails to execute a

scheme or artifice to defraud. 18 U.S.C. § 1341. In Neder v. United States, the

Supreme Court considered the meaning of fraud in the context of § 1341, applying

the rule that Congress intends to incorporate the well-settled meaning of the

common law terms it uses. 527 U.S. 1, 23 (1999). When the mail fraud statute was



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enacted in 1872, the well-settled meaning of “fraud” at common law included a

requirement of misrepresentation or concealment of a material fact. Id.

Accordingly, the Court presumed Congress’ intent to incorporate a materiality

requirement in the federal mail fraud statute. Id.

      To secure a conviction for mail fraud, the government had to prove beyond

a reasonable doubt that Ms. Didier and Ms. Nasir (1) knowingly devised or

participated in a scheme or plan to defraud, (2) made statements or omissions of

fact material to the scheme, (3) acted with specific intent to defraud, and (4) used

the mails or caused the mails to be used. 18 U.S.C. § 1341; United States v.

Woods, 335 F.3d 993, 997 (9th Cir. 2003). Due process requires the government to

prove every fact necessary to constitute the crime charged beyond a reasonable

doubt. In re Winship, 397 U.S. 358, 364 (1970).

      While Neder expressly incorporates materiality as an element of the crime

of mail fraud, the case did not define materiality. See United States v. Johnson,

297 F.3d 845, 866 n.21 (9th Cir. 2002) (“at most, Neder stands for the proposition

that alternative meanings of materiality are possible.”) One meaning of materiality,

as articulated by the Court in United States v. Gaudin, 515 U.S. 506, 509 (1995),

and later embraced by the Ninth Circuit Court of Appeals, is that a statement is

material if it “has a natural tendency to influence, or is capable of influencing, the

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addressee’s decision.” The Gaudin formulation was approvingly cited by the

Court in Neder, Johnson, 297 F.3d at 866 n.21 (citing Neder, 527 U.S. at 16), and

is the preferred formulation in the Ninth Circuit, United States v. Peterson, 538

F.3d. 1064, 1071 (9th Cir. 2008).

      Materiality is distinct from other elements of common law fraud. “The

common-law requirements of ‘justifiable reliance’ and ‘damages,’ for example,

plainly have no place in the federal fraud statutes.” Neder, 527 U.S. at 24-25. This

is because the mail fraud statute prohibits a “scheme . . . to defraud” and not the

completed fraud. See 18 U.S.C. § 1341. While the language of the mail fraud

statue is consistent with a requirement that the government prove materiality, it, by

its own terms, does not impose a requirement of proof of actual reliance and

damages. Neder, 527 U.S. at 25.

      The jury was given two instructions on materiality. Instruction No. 13,

which recited the elements of the mail fraud charged against Didier and Nasir,

including materiality, was given. It charged the jury with determining whether “. . .

the statements made or facts omitted as part of the scheme were material; that is,

they had a natural tendency to influence, or were capable of influencing, a person

to part with money . . . .” (Doc. 92 at 13-14.)

      Additionally, the jury was given a detailed instruction on materiality, above

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and beyond the general elements instruction. Instruction No. 15 read:

      If you should decide that a particular statement or particular omission
      was misleading at the time it was made, then you must determine if
      the fact stated or omitted was a ‘material’ fact or ‘material’ omission
      under the evidence received in this case. Simply because a statement
      is false or misleading, does not automatically make it material.

      In order for you to find a fact or an omission ‘material,’ the
      government must prove beyond a reasonable doubt the fact misstated
      or the fact omitted was of such importance that it could reasonably be
      expected to cause or induce a person or organization to increase the
      disbursement provided above what would have been due under the
      policy. Assessment of ‘materiality’ requires you to view the fact
      misstated or the fact omitted in the context of all the evidence,
      including the total mix of information presented in the trial.

(Doc. 92 at 16.)

      These instructions gave the jury detailed guidance on the materiality inquiry

relevant to the mail fraud charged against Ms. Didier and Ms. Nasir. The relevant

question before the jury was whether Didier and Nasir concocted a scheme to

defraud that had a natural tendency to influence or was capable of influencing

Chubb’s determination of what to pay Ms. Didier for her losses in the insurance

transaction in question when that amount was contractually constrained to

maintaining her standard of living in the Somers mansion. Were the Defendants’

misrepresentations material, “constituting an inducement or motive to the act or

omission of the other party[?]” Neder, 527 U.S. at 22 (quoting J. Story,



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Commentaries on Equity Jurisprudence § 195 (10th ed. 1870)).

      Instruction No. 15 was given because the additional living expenses clause

of the insurance policy is ambiguous as a matter of law. While materiality is an

element of the crime charged which must be submitted to the jury to decide,

Gaudin, 515 U.S. at 522, contract interpretation is a matter of law, In re United

States Financial Securities Litigation, 729 F.2d 628, 631-32 (9th Cir. 1984).

Specifically, “the determination of whether contract language is ambiguous is a

matter of law.” Id. “It is commonplace for [a] mixed question of law and fact to be

assigned to the court for one purpose, and to the jury for another.” Gaudin, 515

U.S. at 521.

      The contract is ambiguous based on the plain language of the insurance

policy. The additional living expenses provision of the policy is open to various

interpretations. The heading of the paragraph reading “extra living expenses”

could give rise to an interpretation that the insured is only due payment for

additional expenses incurred as a consequence of the covered loss. The

government argues this view. The text of the relevant paragraph, however,

guarantees the insured payment for “the reasonable increase in your normal living

expenses that is necessary to maintain your household’s usual standard of living.”

This guarantee obligated the carrier to pay an amount based on the standard of

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living enjoyed at the Somers mansion, with all of its accoutrements, prior to the

loss.

        The policy ambiguity raises reasonable doubt about the materiality element

as a matter of law. The preambulatory statement “extra living expenses” suggests

the amount of compensation paid by Chubb Insurance to Ms. Didier was to be

based on the actual cost of her temporary housing. Under this interpretation, the

Defendants’ actions could have been material to Chubb’s determination of the

amount to pay under the policy. The text of the policy means the amount to be

paid by Chubb to Ms. Didier was driven by her normal, usual standard of living at

the mansion. Chubb knew this was a high end policy, generous in its obligation to

its insured, and it cannot now claim criminal mail fraud because the insured was

paid more than the Rollins property should have cost.

        Construing all the facts adduced at trial in the light most favorable to the

prosecution, there was not sufficient evidence of materiality of the Defendants’

actions on which to base a conviction. The Indictment charged Ms. Didier and Ms.

Nasir with defrauding Chubb Insurance. Chubb was the ultimate decisionmaker

whose actions were allegedly the subject of the Defendants’ fraud. Chubb and

Chubb’s agents are, therefore, the only possible source of evidence of the

materiality of the Defendants’ acts.

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      The trial record is threadbare on this question. Two Chubb employees

testified at trial: Mr. Markey, the investigator and Mr. Petersen, the adjuster. Mr.

Markey was only called to assist after the Defendants acted and after payments

were disbursed for Ms. Didier’s temporary housing at the Rollins property. His

testimony confirmed the incongruities between the Rollins property as described

and as it existed. Mr. Markey did not testify about decisions related to what Ms.

Didier was due under the policy.

      The other possible source to prove materiality was Mr. Petersen, Chubb’s

adjuster assigned to Ms. Didier’s file. He testified to the high-end, liberal nature of

the Masterpiece Policy Ms. Didier bought and paid for from Chubb. He

characterized the policy as one requiring the white glove treatment Chubb offers

the elite clients they service under this and comparable policies. His testimony did

not establish that Chubb would have paid less under the policy had the Defendants

accurately described the Rollins property. Construed in the light most favorable to

the government, the only thing Petersen’s testimony establishes is that Chubb’s

decision about what to pay Ms. Didier tracked with the ambiguous terms of the

policy. He cited the need to compensate the insured to maintain the standard of

living enjoyed at the covered property and also claimed the payment was for extra

expenses. Neither alternative proved Chubb was not obligated to pay under the

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terms of the policy or that it would have paid less but-for the Defendants’

misrepresentations. Without this evidence, the materiality of the Defendants’ acts

cannot be proven, much less proven beyond a reasonable doubt. Indeed Chubb

may have paid just to get “that woman” out of its hair.

      The indictment charges the Defendants with defrauding by mail Chubb

Insurance, not ALE Solutions, not the U.S. Bankruptcy Court. Chubb was

obligated under the contract of insurance to pay “the reasonable increase in [the

insured’s] normal living expenses that is necessary to maintain [the insured’s]

household’s standard of living.” Defining what is reasonable, what living expenses

are normal, what is necessary, and, most importantly, the insured’s household’s

standard of living, is a task loaded with subjective considerations and ambiguity.

When an event unquestionably triggers the policy and the insured opts to move

from the mansion covered by the policy to their own property, a cabin, and the

carrier pays what it owes under the ambiguous language of the policy based on the

loss to the mansion, there is no fraud nor can there be.

      The government argues that Defendants’ representations and statements

about the physical condition of the Rollins property to ALE Solutions were

ultimately material to Chubb Insurance because Chubb contracted with ALE to

find the replacement housing. This argument holds no water because Chubb was

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ultimately obligated to pay what was due under the policy. The record is absent of

any testimony on the part of Chubb Insurance that the Defendants’ representations

and statements were material to their calculation of what was due under the policy

to maintain Ms. Didier’s usual standard of living. Furthermore, the testimony of

ALE employees at trial indicated that ALE did not calculate the amount owed

under the policy. One ALE employee testified that the vendor had no contact with

Chubb except to pass through the completed preap forms for approval. Chubb

simply approved or denied the replacement housing ALE found. Chubb set a range

for what it owed at $10,000 to $15,000 each month, an amount no different in

essence from what it paid.

      The proof regarding Chubb’s determination of Didier’s normal standard of

living is related to its denial of the $40,000 per month corporate property and its

charge to ALE to find something more comparable to the mansion Ms. Didier left.

Both the Chubb adjuster and ALE’s representative testified that after the corporate

property was rejected, Chubb limited ALE’s search criteria to properties renting

for between $10,000 and $15,000 per month. Thus, the condition, ownership, or

actual value of the Rollins property was not, and could not have been, material to

Chubb’s contractual obligation to compensate Ms. Didier that amount for her

usual standard of living.

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      Another way to look at the problem is to invert it. Substituting Chubb

Insurance as the defendant charged with wire fraud illustrates the untenable nature

of the government’s case. ALE found the corporate property and presented it to

Chubb Insurance. Chubb’s adjuster balked at the $40,000 per month price tag even

though the contract could be read to require that payment. Chubb took a position

that although the covered property was comparable in size to the mansion, ALE

should only consider replacement properties with similar “useable space” to the

Somers mansion. Nothing in the insurance contract allowed Chubb to redefine the

standard of living clause. However by this unilateral command Chubb’s obligation

to pay its insured was recast. Was this, too, an incidence of criminal mail fraud?

Chubb devised a plan to deprive its insured of a benefit which they were due under

one interpretation of the policy. Its statements and actions led the insured to

believe she was entitled to replacement property based only on the usable space of

the covered property. And the insurer used the mails by sending checks to its

insured for a property with a smaller size and price tag than the $40,000 corporate

property originally proposed.

      The government insists that the linchpin of its wire fraud charge was the

Defendants’ representations and statements to ALE about the ownership of the

Rollins property and that these lies were material to Chubb’s payment. The

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Indictment charges Ms. Didier and Ms. Nasir with concocting a scheme to defraud

Chubb Insurance, not ALE Solutions. For Defendants’ representations about the

ownership of the Rollins property to be material to Chubb, there would have to be

proof that Chubb would have acted differently had it known that the C.D. Didier

Family Trust was an entity solely controlled by Ms. Didier. The government could

have called witnesses to establish this necessary fact, but it did not. Chubb’s

adjuster, again, is the only possible source of this crucial testimony. He offered no

proof on the question. In fact, according to the notes and history compiled by

ALE, Chubb’s adjuster was not involved with the ultimate decision to approve Ms.

Didier’s move to the Rollins property. The notes and history indicate the adjuster’s

supervisor authorized Ms. Didier’s move to the Rollins property on January 30,

2008. The adjuster did not, and could not, testify that the ownership of the Rollins

property was material to his supervisor. Without this testimony no rational trier of

fact, given the legal problems identified above, could find the government proved

beyond a reasonable doubt that the Defendants’ statements and representations

were material to Chubb’s decision.

      In United States v. Bryant, the Eighth Circuit considered the materiality of

representations made by an insured pursuant to an insurance policy. 606 F.3d 912

(8th Cir. 2010). There, a retired school teacher took out a long-term care insurance

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policy and was later diagnosed with Alzheimer’s disease. Id. at 915. Her insurer

determined she was entitled to benefits under the policy, which covered

reimbursement of up to $70.00 per day for necessary care expenses associated

with a long-term disability, including home health care services. Id. The insured

granted power of attorney to her son, who pursued claims with her insurer based

on services provided to his mother in her home by a Certified Nurse’s Assistant.

Id. After the nurse’s assistant stopped providing services, the insured’s son

continued to submit claims to the insurer and continued to be reimbursed. Id. at

915-16.

      Like the Defendants in the case at bar, the insured’s son was charged with

criminal mail fraud, in violation of 18 U.S.C. § 1341. Id. at 916. He was found

guilty, and challenged the sufficiency of the evidence supporting his conviction on

grounds that his actions were not material. Id. at 916-17. The Court of Appeals

applied a definition of materiality which tracked closely with the Gaudin

formulation used in this case. Id. at 918. The insured’s son argued he was entitled

to submit the claims because he provided home care to his mother after the nurse’s

assistant stopped. Id. The court determined that, in the context of the policy at

issue, the son’s actions were material because the policy only obligated the insurer

“to reimburse the actual charges [the insured] incurred for care provided by

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qualifying providers.” Id. (emphasis in original).

      Bryant presents an analogous set of facts to this case in that the alleged

fraud was pursuant to an insurance policy and the insured elected to step in with

their own solution when a third-party provider was unavailing. The crucial

difference, however, is in the terms of the insurance policy. In Bryant, the policy

stated: “We will pay the actual charges incurred for a provider of Home Health

Care up to the Home Health Care Daily benefits as shown in the Policy Schedule.”

Id. at 915 n.15. (emphasis supplied by the Eighth Circuit). Here, the language of

the policy is at best ambiguous, stating the insurer is obligated to pay “Extra living

expenses” and simultaneously pay what “is necessary to maintain your

household’s usual standard of living.” The ambiguity of this crucial term raises

doubt as a matter of law regarding the materiality of the Defendant’s

representations and actions. Chubb wrote the policy, charged significant premiums

for the coverage, and deemed it a special liberally construed white glove policy.

The government seeks to rewrite the “standard of living” language to mean “actual

charges incurred” in order to satisfy the proof of materiality. It can’t do so based

on the language of Chubb’s policy.

      Without proof beyond a reasonable doubt of materiality, there is insufficient

evidence on which to convict Ms. Didier and Ms. Nasir. The misrepresentations

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about the condition and ownership of the Rollins property did not affect Chubb’s

duty to pay. There is no evidence that Chubb would not have paid the amount it

did for the property, the security deposit, pet deposit, application fee, cleaning fee,

and broker fee had the Defendants’ been forthright about the condition and

ownership of the Rollins property. Given the ambiguity of the insurance policy

and absence of proof as to Chubb’s decision to authorize the Rollins property, no

reasonable finder of fact could find both Defendants guilty beyond a reasonable

doubt.

B.       A rational jury could conclude Ms. Didier acted with intent to defraud.

         Ms. Didier insists that there was insufficient proof of her intent to defraud

because the testimony of medical experts conclusively demonstrated her mental

impairment. Mail fraud is a specific intent crime. United States v. Peters, 962 F.2d

1410, 1414 (9th Cir. 1992). “In order to prove a violation of 18 U.S.C. § 1341,

there must be a showing of a specific intent to defraud. The intent to defraud may

be inferred from a defendant’s statements and conduct.” Id. (citations omitted).

The jury was presented medical testimony regarding Ms. Didier’s capacity to form

the requisite mens rea to carry out the offense. Assessing this evidence in the light

most favorable to the government, it is inappropriate to set aside the jury’s verdict

on these grounds. A rational juror could conclude the diagnosis was in error or

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decide that, even if Ms. Didier was compromised, she still had the capacity to form

the intent to deceive.

      Ms. Didier also claims her interpretation of the insurance policy

demonstrates she lacked the intent to defraud Chubb Insurance. Viewed in the

light most favorable to the government, there is enough evidence in the record on

which a rational juror might conclude Ms. Didier acted with intent to misrepresent

the ownership condition of the Rollins property.

C.    Ms. Nasir’s argument that jury notes demonstrate the insufficiency of
      the evidence is without merit.

      While deliberating, the jury sent two notes to the Court expressing questions

about the case. (See docs. 96 and 97.) The notes were difficult to decipher. After

conferring with the parties, no additional instructions were given and the jury was

told that they had the necessary information to come to a decision in the original

set of instructions provided. Even if Ms. Nasir’s interpretation of the notes is

correct, they do not demonstrate the evidence was insufficient grounds on which

to convict. Ms. Nasir argues the first note asks if the checks constitute the mail

fraud and the second note asks which document induced the money to be sent.

      An element of a criminal mail fraud prosecution is that the defendant used

the mails or caused the mails to be used in committing the fraud. See 18 U.S.C. §



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1341. “The defendant need not directly place items into the mail or order the

mailing; instead, ‘if the defendant does an act with knowledge that the use of the

mails will follow in the ordinary course of business, or where such use can

reasonably be foreseen, even though not actually intended, then he “causes” the

mails to be used.’” United States v. Hubbard, 96 F.3d 1223, 1229 (9th Cir. 1996)

(quoting Pereira v. United States, 347 U.S. 1, 8-9 (1954)). This law was presented

to the jury in the instruction reciting the elements of the mail fraud offense. (See

Instruction No. 13, doc. 92 at 13-14.) Nothing in the jury’s note as interpreted by

Ms. Nasir raises a question as to the proof that the alleged fraud caused the mails

to be used.

      The second jury note does not raise a question as to the proof of Ms. Nasir’s

guilt. Ms. Nasir’s interpretation of the note suggesting that it asks which document

induced the money to be sent, is not of consequence. The jury need not agree on a

specific false statement or misrepresentation to sustain a conviction for mail fraud.

Woods, 335 F.3d at 999. It was appropriate to instruct the jury to return to

deliberations based on its earlier instructions in light of this note as interpreted by

Ms. Nasir.

D.    Ms. Nasir’s analysis of documentary evidence is not sufficient grounds
      for judgment of acquittal.



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      Ms. Nasir argues the records forming the basis for her conviction are

insufficient evidence on which to convict her of mail fraud and conspiracy to

commit mail fraud. Ms. Nasir takes a narrow view of the evidence and sets aside

statements she made to investigators on which the jury might have reasonably

concluded she acted with intent to defraud. Viewing all evidence in the light most

favorable to the government, a rational juror could conclude the elements of the

charges against Ms. Nasir, except materiality as discussed in part III.A. supra,

were proven beyond a reasonable doubt.

      Ms. Nasir raises an issue related to spoliation of evidence. She argues ALE

and Chubb documents were selectively produced to the investigating agents and

the government, and accordingly, not all documents were produced to the

Defendants. She bases this argument on the fact that a version of the lease,

Government Exhibit 41, was not produced by the government until mid-trial.

Additionally, a document referred to by a government witness which the witness

relied upon to conclude Ms. Nasir was not an attorney was never produced.

      It is established that “the suppression by the prosecution of evidence

favorable to an accused violates due process where the evidence is material to

either guilt or punishment, irrespective of the good faith or bad faith of the

prosecution.” Brady v. Maryland, 373 U.S. 83, 87 (1963). Ms. Nasir only alludes

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to the prospect that favorable evidence was suppressed in her post-trial briefing.

She does not specifically argue that exculpatory evidence was withheld, only that

“not all documents were produced[.]”

      “In order for destruction of evidence to rise to the level of a constitutional

violation, a party must make two showings. First, that the government acted in bad

faith, the presence or absence of which ‘turns on the government's knowledge of

the apparent exculpatory value of the evidence at the time it was lost or destroyed.’

Second, that the missing evidence is ‘of such a nature that the defendant would be

unable to obtain comparable evidence by other reasonably available means.’”

United States v. Sivilla, 714 F.3d 1168, 1172 (9th Cir. 2013) (citations omitted).

Ms. Nasir has not made either of these showings in her post-trial briefing.

E.    If the judgment of acquittal is later vacated or reversed, a new trial is
      appropriate for each Defendant.

      Because a judgment of acquittal is appropriate, Ms. Nasir’s motion for a

new trial is moot. Federal Rule of Criminal Procedure 29(d), however, requires a

determination of whether a new trial should be granted if this judgment of

acquittal is vacated or reversed. Nasir’s Motion for a New Trial pursuant to

Federal Rule 29(d) is conditionally granted. In the event this judgment of acquittal

is vacated or reversed by the Ninth Circuit Court of Appeals, a severed trial is



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appropriate for each Defendant.

      Although Ms. Nasir did not object to proceeding to trial with Ms. Didier,

she argues in retrospect through her post-trial motions, that the decision to proceed

to trial as a co-defendant was prejudicial. The Didier-Chubb insurance contract

was central to the evaluation of the charges against the Defendants. Limiting

instructions were given at trial and a limiting instruction was given to the jury

regarding this evidence. (See Instruction No. 10, doc. 92 at 10.) Ms. Nasir’s

suggestion in her post trial brief that the case may have become overly complex in

its proof for the instructions to have their desired effect is well taken. A severed

trial is appropriate and in the interest of justice and due process for each

Defendant if the judgment of acquittal is reversed.

IV.   Conclusion

      This criminal mail fraud case is missing an essential element: materiality.

Chubb Insurance could have written the policy using more precise language,

reflecting their obligation to pay only the actual cost of replacement housing. The

insurer did not elect to write the policy using that language, instead it predicated

its obligation to pay on an ambiguous term generously providing coverage for

living expenses based on a standard of living in this case in a 14 bedroom

mansion. The United States cannot invoke this ambiguity by attempting to

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establish fraud in violation of 18 U.S.C. § 1341, effectively making the grand jury

and this criminal court an enforcement mechanism for a policy dispute between a

carrier and its insured.

      In accordance with the foregoing, IT IS ORDERED that Ms. Didier’s

Motion for Judgment of Acquittal (doc. 106) is GRANTED.

      IT IS FURTHER ORDERED that Ms. Nasir’s Motion for Judgment of

Acquittal (doc. 108) is GRANTED.

      IT IS FURTHER ORDERED that Ms. Nasir’s Motion for a New Trial (doc.

108) is CONDITIONALLY GRANTED.

      IT IS FURTHER ORDERED that Ms. Nasir’s Ex-parte Motion (doc. 120) is

DENIED as MOOT.

      IT IS FURTHER ORDERED that the Clerk of Court shall enter a judgment

of acquittal and close this case.

      DATED this 4th day of October, 2013.




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